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                                   UNITED STATES DISTRICT COURT
                                    DISTRICT OF MASSACHUSETTS



     UNITED STATES OF AMERICA


                 v.
                                                               Crim. No. 19-cr-10081-IT-MPK
     GORDON ERNST, et al.,

                                     Defendants.



                                    JOINT INTERIM STATUS REPORT

           Pursuant to Local Rule 116.5(b), the parties 1 hereby file the following status report

prepared in connection with the Interim Status Conference that is currently scheduled for October

1, 2019.

           (1)        Automatic Discovery & Pending Discovery Requests

           The Government provided initial discovery in this case to the Defendants on or about April

25, 2019, and produced supplemental discovery on or about May 29, 2019, July 1, 2019, and

August 30, 2019. The discovery was provided on hard drives, DVDs, and thumb drives. The

Government provided Defendants with general indices and multiple databases in load-ready forms.

Defendants are currently reviewing these indices and the discovery.

           The Government has received discovery requests from Defendant Heinel.                   The

Government believes it has addressed Defendant Heinel’s requests, and there are currently no

pending discovery requests. Defendant Heinel does not agree that the Government has addressed




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    Counsel for Defendant Sanford was unavailable to sign onto this status report before filing.


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Defendant Heinel’s requests and reserves the right to further meet and confer and to file a discovery

motion addressing these requests at a later date as necessary.

           Defendants have not yet produced any discovery to the Government. Defendants state that

they have not yet completed review of the millions of pages of discovery and thus believe that

discovery to the Government is premature. Defendants further state that they are not in a position

to determine what materials each will use in his or her cases-in-chief. The Government does not

agree with this assessment.

           (2)      Additional Discovery

           The Government anticipates providing additional discovery as it comes in and is processed

by the Government pursuant to Local Rule 116.7. Defendants request a date by which the

Government presently anticipates completing its discovery productions.             The Government

responds that in a complex case such as this, where the investigation is ongoing, additional

discovery will be produced and disclosed as is required. Defendants reply that some reasonable

deadline should be set for the Government to complete discovery and that the Government may

later supplement if it receives any materials after the deadline.

           Defendants state that they cannot provide discovery to the Government until after they have

each evaluated the Government’s discovery and can reasonably determine what materials each

will use in “the defendant’s case-in-chief at trial” as required by Fed. R. Crim. P. 16. The

Government replies that some reasonable deadline should be set for Defendants to complete

discovery and that Defendants may later supplement if they receive any materials after the

deadline.




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           (3)      Timing of Additional Discovery Requests

           The Defendants are reviewing the large quantity of discovery and indices provided by the

Government. Because the Defendants have yet to finish their review of the discovery, Defendants

believe it is premature to set a deadline or briefing schedule for discovery requests at this time.

The Government proposes the following briefing schedule for discovery motions, while

recognizing that additional discovery issues may arise after these dates as Defendants continue to

review and determine what is included (or not included) in the material already provided:

           •     Motions and opening memoranda          November 12, 2019

           •     Opposition memoranda                   December 20, 2019

           •     Reply briefs                           January 10, 2019

The Defense replies they are unable to file any discovery motions by November 12, 2019 because

the Defense will not have completed review of discovery by that date.

           (4)      Protective Orders

           There is a protective order currently in place. Should a party seek modification of any

existing protective order, a motion will be filed with the Court to address any issue.

           (5)      Pretrial Motions under Fed. R. Crim. P. 12(b)

           The parties previously agreed that no motions for relief under Fed. R. Crim. P. 12(b) would

be filed before September 30, 2019. At the initial status conference, the Court instructed the parties

to propose a briefing schedule at the forthcoming interim status conference. Defendants believe it

is premature to set a briefing schedule for all further Rule 12(b) motions since the Defendants have

yet to complete their review of the discovery and the Government has yet to finish its production.

           However, Defendants seek to file a Rule 12(b)(3)(B)(v) motion to dismiss for failure to

state an offense concerning the single RICO conspiracy count alleged in the current Indictment as



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this is not contingent upon completion of discovery review. Accordingly, the Defendants propose

the following schedule for the briefing of this single motion:

           •     Motions and opening memoranda           October 15, 2019

           •     Opposition memoranda                    November 19, 2019

           •     Reply briefs                            December 10, 2019

           •     Proposed Hearing Date                   January 13, 2020

           The Government objects to this bifurcated briefing schedule for Rule 12(b) motions, and

believes that the Court should order that the Rule 12(b) motions be filed concurrently with

discovery motions or at some other date as ordered by the Court. The Government believes, and

will explain further at the status conference, that there is little reason to file two separate sets of

Rule 12(b) motions.

           The Defense replies that the Government should explain in this status report why the

Government believes that there is little reason to file a dispositive Rule 12(b)(3)(B)(v) in advance

of other Rule 12(b) motions.

           (6)      Expert Discovery

           The parties are unable to reach agreement on expert disclosure. The Government proposes

disclosure 45 days prior to trial. The defense posits that this time period is insufficient to provide

the defense with proper notice and enough time in which to identify rebuttal experts in advance of

trial.

           (7)      Defenses of Insanity, Public Authority, or Alibi

           No Defendant intends to offer defenses of insanity, public authority, or alibi.




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           (8)      Speedy Trial Act

           The 70-day period specified in 18 U.S.C. § 3161(c)(1) commenced on March 25, 2019

with the Defendants’ initial appearance in this District. In Orders entered March 25, 2019 and

June 3, 2019, the Court has excluded all time between March 25, 2019 and October 1, 2019 under

the Speedy Trial Act. See Dkts. 109 & 184.

           The parties have conferred and ask that the Court exclude the period from the time of the

interim status conference on October 1, 2019 to the time of the next status conference, under 18

U.S.C. § 3161(h)(7)(A), to permit the Defendants time to review discovery and confer with their

respective counsel. The ends of justice served by this exclusion outweigh the interests of the public

and the Defendants in a speedy trial.

           (9)      Status of Plea Discussions and Likelihood and Estimated Length of Trial

           Defendants Janke, Khosroshahin, and Masera have already entered plea agreements. The

Government is in plea discussions with additional Defendants. Depending on the number of

Defendants remaining for trial, the Government currently estimates that its case-in-chief would

take approximately three to six weeks, assuming half-day sessions.

           (10)     Interim Status Conference

           The parties request an interim status conference the week of January 13, 2020, or at such

time as is convenient to the Court.




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                                      Respectfully Submitted,

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                                 CERTIFICATE OF SERVICE

        I, Kristen A. Kearney hereby certify that this document filed through the ECF system will
be sent electronically to the registered participants as identified on the Notice of Electronic Filing
(NEF) and paper copies will be sent to those indicated as non-registered participants on
September 24, 2019.

                                                              /s/ Kristen A. Kearney
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